       Case 1:23-cr-00239-CKK           Document 184         Filed 11/21/24      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       CRIMINAL NO. 23-cr-239 (CKK)
                                               :
ILYA LICHTENSTEIN, et al.,                     :
                                               :
                       Defendants.             :

             CONSENT MOTION TO SCHEDULE RESTITUTION HEARING

       The United States of America, by and though the United States Attorney for the District of

Columbia, respectfully moves this Court to schedule a restitution hearing for both defendants on

February 21, 2025 (a date proposed by the Court), and to enter the attached briefing schedule.

Counsel for both defendants consent in the motion and do not object to holding the hearing more

than 90 days after defendant Ilya Lichtenstein’s November 14, 2024 sentencing hearing.

       1.      Pursuant to 18 U.S.C. § 3664(d)(4), “[i]f the victim’s losses are not ascertainable

by the date that is 10 days prior to sentencing, the attorney for the Government or the probation

officer shall so inform the court, and the court shall set a date for the final determination of the

victim’s losses, not to exceed 90 days after sentencing.”

       2.      On November 13, 2024, the government filed a notice with the Court and requested

that the Court defer final determination of any victim’s losses and the restitution order in this case

for a period of 90 days, pursuant to 18 U.S.C. § 3664(d)(4). ECF No. 171.

       3.      On November 14, 2024, a sentencing hearing was held for defendant Lichtenstein.

Consistent with the government’s request, the Court announced that restitution would be imposed

in an amount to be determined at a future restitution hearing.




                                                   1
       Case 1:23-cr-00239-CKK           Document 184         Filed 11/21/24      Page 2 of 3




       4.      On November 18, 2024, a sentencing hearing was held for defendant Heather

Morgan. Similarly, the Court announced that restitution would be imposed in an amount to be

determined at a future restitution hearing.

       5.      The government understands that February 21, 2025 would be convenient to the

Court and to the parties. The government notes that this date would be 99 days after defendant

Lichtenstein’s hearing, and therefore exceed the 90-day deadline under § 3664(d)(5). However,

as the Supreme Court held in Dolan v. United States, 560 U.S. 605 (2010), the 90-day deadline

under § 3664(d)(5) is a non-jurisdictional, time-related directive which does not deprive the Court

of its power to order restitution if the deadline is missed. See id. at 611; see also United States v.

Monzel, 746 F. Supp. 2d 76, 82 (D.D.C. 2010) (“Dolan thus clearly held that the time limitations

in § 3664(d)(5) do not deprive district courts of the power to order restitution.”); United States v.

Williams, 353 F. Supp. 3d 14, 17 n.3 (D.D.C. 2019) (“Here, both parties filed unopposed motions

for extensions of time to submit their respective briefs regarding restitution beyond the ninety-day

statutory deadline for determining restitution. Neither party objects to restitution being determined

after the statutory deadline. As the parties have acknowledged, the failure to determine the amount

of restitution within ninety days after sentencing does not deprive the Court of jurisdiction to

impose restitution.”).

       6.      The government and defense counsel for both defendants recommend the following

briefing schedule:

               a. Jan. 14, 2025: Government’s Supplemental Restitution Memorandum due.

               b. Jan. 28, 2025: Third party Motions To Intervene or Objections by any third

                     parties due.

               c. Feb. 7, 2025: Response by defense due.




                                                  2
       Case 1:23-cr-00239-CKK          Document 184         Filed 11/21/24      Page 3 of 3




               d. Feb. 14, 2025: Reply by the Government due.

       7.      Accordingly, the government requests that the Court enter the attached Proposed

Order scheduling the restitution hearing and setting a briefing schedule on questions of restitution.



                                              Respectfully submitted,
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                                                 3
